           Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 1 of 9




                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT PENNSYLVANIA

MICHAEL G. TALAMANTES,                        )
                                              )
      Plaintiff,                              )
                                              )
      v.                                      )      Case No. 3:02-at-06000
                                              )
MERCANTILE ADJUSTMENT                         )
BUREAU, LLC,                                  )
                                              )
      Defendant.                              )

                               PLAINTIFF’S COMPLAINT

      Plaintiff, MICHAEL G. TALAMANTES (“Plaintiff”), through his attorneys, THE LAW

FIRM OF MICHAEL ALAN SIDDONS, ESQUIRE, alleges the following against Defendant,

MERCANTILE ADJUSTMENT BUREAU, LLC (“Defendant”):

                                      INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. 1692 et seq. (“FDCPA”).

   2. Count II of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47

      U.S.C. 227, et seq. (“TCPA”).

   3. The TCPA was designed to prevent calls and text messages like the ones described herein,

      and to protect the privacy of citizens like Plaintiffs. “Voluminous consumer complaints

      about abuses of telephone technology – for example, computerized calls dispatched to

      private homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC,

      132 S. Ct. 740, 744 (2012).

   4. In enacting the TCPA, Congress intended to give consumers a choice as to how corporate

      similar entities may contact them, and made specific findings that “[t]echnologies that

                                              1
       Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 2 of 9




   might allow consumers to avoid receiving such calls are not universally available, are

   costly, are unlikely to be enforced, or place an inordinate burden on the consumer. TCPA,

   Pub. L. No. 102–243, § 11. In support of this, Congress found that

           [b]anning such automated or prerecorded telephone calls to the
           home, except when the receiving party consents to receiving the call
           or when such calls are necessary in an emergency situation affecting
           the health and safety of the consumer, is the only effective means
           of protecting telephone consumers from this nuisance and privacy
           invasion.

   Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838,

   at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).

5. Congress also specifically found that “the evidence presented to the Congress indicates that

   automated or prerecorded calls are a nuisance and an invasion of privacy, regardless of the

   type of call….” Id. at §§ 12-13. See also, Mims, 132 S. Ct. at 744.

6. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA case regarding

   calls to a non-debtor similar to this one:

           The Telephone Consumer Protection Act … is well known for its
           provisions limiting junk-fax transmissions. A less-litigated part of
           the Act curtails the use of automated dialers and prerecorded
           messages to cell phones, whose subscribers often are billed by the
           minute as soon as the call is answered—and routing a call to
           voicemail counts as answering the call. An automated call to a
           landline phone can be an annoyance; an automated call to a cell
           phone adds expense to annoyance.

   Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

                            JURISDICTION AND VENUE

7. This Court has jurisdiction under 28 U.S.C. §§1331, 1337, and 15 U.S.C. §1692k

   (FDCPA).



                                                2
       Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 3 of 9




8. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

   actions may be brought and heard before “any appropriate United States district court

   without regard to the amount in controversy.”

9. This Court has jurisdiction over Plaintiff’s TCPA claim pursuant to Mims v. Arrow

   Financial Svcs. LLC, 132 S. Ct. 740, 2012 WL 125249 (Jan. 18, 2012).

10. Venue and personal jurisdiction in this District are proper because Defendant does or

   transacts business within this District, and a material portion of the events at issue occurred

   in this District.

                                          PARTIES

11. Plaintiff is a natural person residing at Hanover, York County, Pennsylvania.

12. Plaintiff is a consumer as that term is defined by 15 U.S.C. §1692a(3).

13. Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. §1692a(5).

14. Defendant is a debt collector as that term is defined by 15 U.S.C. §1692a(6).

15. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

16. Defendant is a national collection agency headquartered in Williamsville, New York.

17. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

   account balances.

18. When an unpaid, outstanding account is placed with Defendant it is assigned a reference

   number.

19. The principal purpose of Defendant’s business is the collection of debts allegedly owed to

   third parties.

20. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

21. During the course of its attempts to collect debts allegedly owed to third parties, Defendant

                                              3
       Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 4 of 9




   sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or

   electronic mail, and initiates contact with alleged debtors via various means of

   telecommunication, such as by telephone and facsimile.

22. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                              FACTUAL ALLEGATIONS

23. Defendant is attempting to collect an alleged consumer debt from Plaintiff.

24. Plaintiff’s alleged debt arises from transactions for personal, family, and household

   purposes.

25. In or around August 2014, Defendant began placing collection calls to Plaintiff in an

   attempt to collect an alleged debt from Plaintiff.

26. Defendant calls Plaintiff’s cellular telephone number at 917-828-04XX.

27. Defendant calls Plaintiff from 866-513-9461.

28. 866-513-9461 is one of Defendant’s numbers.

29. Defendant calls Plaintiff on Plaintiff’s cellular telephone several times per day. For

   example, Defendant called Plaintiff six (6) times on his cellular phone August 13, 2014.

30. When Plaintiff answers collection calls from Defendant, the Plaintiff is greeted with

   silence until the Plaintiff inquires “hello?” two (2) to three (3) times then finally an

   automated message plays informing Plaintiff that “all of our representatives are busy with

   other clients; please hold for the next available representative”—or similar words to that

   effect.

31. During at least one of the aforementioned collections calls, once Plaintiff was finally able

   to speak to a live collector, Plaintiff inquired as to the details of the debt Plaintiff allegedly

                                               4
       Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 5 of 9




   owes.

32. In response to the Plaintiff’s inquiries, Defendant’s collectors demanded the last four (4)

   digits of Plaintiff’s Social Security Number before they would disclose any information

   regarding the alleged debt.

33. Plaintiff, being uncomfortable with providing Defendant’s collectors with such sensitive

   personal information without knowing more of what the collection call was all about,

   declined to provide Defendant’s collectors with the last four (4) digits of his Social

   Security Number.

34. When Plaintiff declined to provide the last four (4) digits of his Social Security Number,

   Defendant’s collectors have responded that they will sue Plaintiff if Plaintiff does not

   provide them with the last four (4) digits of Plaintiff’s social security number.

35. Reaching an impasse with Defendant’s collectors, Plaintiff answered all subsequent

   collection calls from Defendant’s collectors by informing them that he was represented by

   an attorney and provided them with the attorney’s name and contact information and that

   the Defendant’s collectors should stop calling Plaintiff and call Plaintiff’s attorney instead.

36. Despite Plaintiff’s requests for the Defendant’s collectors to call his attorney and to stop

   calling the Plaintiff, the Defendant’s collectors have refused and done the exact opposite

   by continuing to call the Plaintiff while not contacting the Plaintiff’s attorney.

37. The natural consequences of Defendant’s statements and actions was to produce an

   unpleasant and/or hostile situation between Defendant and Plaintiff.

38. The natural consequences of Defendant’s statements and actions was to cause Plaintiff

   mental distress.

39. Defendant called Plaintiff using an autodialer system.

                                              5
       Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 6 of 9




40. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. §

   227(a)(1), to place its repeated collection calls to Plaintiff seeking to collect the debt

   allegedly owed.

41. Defendant’s phone system has the capacity to store or produce telephone numbers to be

   called, using a random or sequential number generator.

42. Plaintiff never provided Plaintiff’s cellular telephone number to Defendant and never

   provided Plaintiff’s consent to Defendant to be contacted on Plaintiff’s cellular telephone.

43. If Defendant at one time had consent to place calls to Plaintiff’s cellular telephone number,

   it no longer has consent to call Plaintiff after being instructed by Plaintiff to cease all calls

   to him and to call his attorney instead.

44. Defendant’s calls constituted calls that were not for emergency purposes as defined by 47

   U.S.C. § 227(b)(1)(A).

45. Defendant’s calls were placed to telephone number assigned to a cellular telephone service

   for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

46. Plaintiff is not a customer of Defendant’s services, has never provided any personal

   information, including Plaintiff’s cellular telephone number, to Defendant for any purpose

   whatsoever.

47. Accordingly, Defendant never received Plaintiff’s “prior express consent” to receive calls

   using an automatic telephone dialing system or an artificial or prerecorded voice on

   Plaintiff’s cellular telephone pursuant to 47 U.S.C. 227(b)(1)(A).

48. Despite this, Defendant continued to place repeated collection calls to Plaintiff, on

   Plaintiff’s cellular telephone, using an “automated telephone dialing system.”



                                              6
      Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 7 of 9




                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

49. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692c(a)(2) of the FDCPA because Defendant knew the

          Plaintiff was represented by an attorney with respect to the alleged debt and had

          knowledge of the attorney’s name and address yet refused to contact Plaintiff’s

          attorney and instead continued to call the Plaintiff;

       b. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

          consequence of which is to harass, oppress, or abuse any person in connection with

          the collection of any debt when Defendant called Plaintiff multiple times per day

          despite being told not to and to call Plaintiff’s attorney instead;

       c. Defendant further violated §1692d of the FDCPA by engaging in conduct the

          natural consequence of which is to harass, oppress, or abuse any person in

          connection with the collection of any debt when Defendant threatened to sue the

          Plaintiff if Plaintiff did not provide Defendant with the last four (4) digits of

          Plaintiff’s Social Security Number;

       d. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring or

          engaging any person in telephone conversation repeatedly or continuously with

          intent to annoy, abuse, or harass any person when Defendant called Plaintiff

          multiple times per day despite being told not to and to call Plaintiff’s attorney

          instead; and

       e. Defendant violated §1692e(5) of the FDCPA by threatening to take any action that

          cannot legally be taken or that is not intended to be taken when Defendant

          threatened to sue Plaintiff if Plaintiff did not provide Defendant with the last four
                                             7
             Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 8 of 9




                (4) digits of Plaintiff’s Social Security Number.

       WHEREFORE, Plaintiff, MICHAEL G. TALAMANTES, respectfully requests judgment

be entered against Defendant, MERCANTILE ADJUSTMENT BUREAU, LLC, for the

following:

   50. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k;

   51. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k; and

   52. Any other relief that this Honorable Court deems appropriate.

                            COUNT II
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

   53. Plaintiff repeats and re-alleges paragraphs 1-48 of Plaintiff’s Complaint as the allegations

       in Count II of Plaintiff’s Complaint.

   54. Defendant’s conduct violated the TCPA by:

             a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

                automatic telephone dialing system and/or pre-recorded or artificial voice in

                violation of 47 U.S.C. § 227 (b)(1)(A)(iii) when Defendant placed collection calls

                to Plaintiff’s cellular phone and there was a delay when Plaintiff answered the

                phone before being connected to an automated recording.

       WHEREFORE, Plaintiff, MICHAEL G. TALAMANTES, respectfully requests judgment

be entered against Defendant, MERCANTILE ADJUSTMENT BUREAU, LLC, for the

following:

   55. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled

       to and requests $500 in statutory damages, for each and every violation, pursuant to 47
                                                  8
          Case 1:15-cv-00338-JEJ Document 1 Filed 02/17/15 Page 9 of 9




      U.S.C. 227(b)(3)(B).

   56. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1),

      Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500, for

      each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C. 227(b)(3)(C).

   57. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the future.

   58. Any other relief that this Honorable Court deems appropriate.


                                      RESPECTFULLY SUBMITTED,



February 13, 2015                     By: /s/ Michael A. Siddons______________________
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                                                  9
